       Case 3:19-cv-03516-RV-MJF Document 1 Filed 09/20/19 Page 1 of 11



                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF FLORIDA
                                   PENSACOLA DIVISION

                                            CASE NO.:


KARLA GRIFFIN,

       Plaintiff,

vs.

ALYS BEACH RESORTS, LLC,

       Defendant.

                                              /

                          COMPLAINT FOR INJUNCTIVE RELIEF

       Plaintiff, KARLA GRIFFIN (“Plaintiff”), by and through her undersigned counsel, hereby

files this Complaint and sues ALYS BEACH RESORTS, LLC, (“Defendant”), for declaratory and

injunctive relief, attorney’s fees, expenses and costs (including, but not limited to, court costs and

expert fees) pursuant to 42 U.S.C. § 12182 et. seq., and the 2010 Americans with Disabilities Act

(“ADA”) and alleges as follows:

                                  JURISDICTION AND VENUE

       1.      This Court is vested with original jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331, 343 for Plaintiff’s claims arising under Title 42 U.S.C. § 12182 et. seq., based on

Defendant’s violations of Title III of the ADA. See also, 28 U.S.C. §§ 2201, 2202, as well as the

2010 ADA Standards. This Court is also vested with supplemental jurisdiction over Plaintiff’s state

law claims for violation of the Florida Civil Rights Act under 28 U.S.C. § 1367.

       2.      Venue is proper in this Court, Pensacola Division, pursuant to 28 U.S.C. §1391(B)

and the Internal Operating Procedures for the United States District Court for the Northern District
        Case 3:19-cv-03516-RV-MJF Document 1 Filed 09/20/19 Page 2 of 11



of Florida in that events giving rise to the lawsuit occurred in, among other places, Bay County,

Florida.

                                             PARTIES

       3.      Plaintiff, KARLA GRIFFIN is sui juris and is a resident of the State of Georgia

residing in Thomas County, Georgia.

       4.      Upon information and belief, Defendant is the lessee, operator, owner and/or lessor

of Real Property, which is subject to this suit, and is located at 9581 County Hwy, 30A East, Panama

City Beach, Florida 32413 (“Premises”) and is the owner of the improvements where Premises is

located.

       5.      Defendant is authorized to conduct, and is in fact conducting, business within the

State of Florida.

       6.      Plaintiff is an individual with physical disabilities. Plaintiff was in a tragic car

accident eight years ago, from which she suffered a traumatic brain injury that resulted in nerve

damage. As a result of those injuries, Plaintiff’s toes curl under her feet, a condition which leaves

her in near constant pain and makes mobility extremely challenging. At the time of Plaintiff’s visits

to the Premises twice in 2016, twice in 2017, and from July 18, 2018 through July 22, 2018, (and

prior to instituting this action), Plaintiff suffered from a “qualified disability” under the ADA, and

requires a continuous path of travel connecting all essential elements of the facility and the use of

other means of accessibility for persons with disabilities. Plaintiff personally visited the Premises,

but was denied full and equal access and full and equal enjoyment of the facilities, services, goods,

and amenities within the Premises, even though she would be classified as a “bona fide patron”.




                                                 2
        Case 3:19-cv-03516-RV-MJF Document 1 Filed 09/20/19 Page 3 of 11



        7.      Plaintiff will avail herself of the services offered at the Premises in the future,

provided that Defendant modifies the Premises or modifies the policies and practices to

accommodate individuals who have physical disabilities.

                                    COUNT I
                VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

        8.      Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 7 above

as if fully stated herein.

        9.      On July 26, 1990, Congress enacted the Americans With Disabilities Act (“ADA”),

42 U.S.C. § 12101 et. seq. Commercial enterprises were provided one and a half (1.5) years from

enactment of the statute to implement its requirements. The effective date of Title III of the ADA

was January 26, 1992, or January 26, 1993, if Defendant(s) have ten (10) or fewer employees and

gross receipts of $500,000.00 or less. See 42 U.S.C. § 12182; 28 C.F.R. § 36.508(a).

        10.     As stated in 42 U.S.C. §§ 12101(a)(1)-(3),(5) and (9) Congress found, among other

things, that:

                 a.     some 43,000,000 Americans have one or more physical or mental disabilities,
                        and this number shall increase as the population continues to grow older;

                 b.     historically, society has tended to isolate and segregate individuals with
                        disabilities and, despite some improvements, such forms of discrimination
                        against disabled individuals continue to be a pervasive social problem,
                        requiring serious attention;

                 c.     discrimination against disabled individuals persists in such critical areas as
                        employment, housing, public           accommodations,          transportation,
                        communication, recreation, institutionalization, health services, voting and
                        access to public services and public facilities;

                 d.     individuals with disabilities continually suffer forms of discrimination,
                        including outright intentional exclusion, the discriminatory effects of
                        architectural, transportation, and communication barriers, failure to make
                        modifications to existing facilities and practices. Exclusionary qualification
                        standards and criteria, segregation, and regulation to lesser services, programs,
                        benefits, or other opportunities; and,



                                                  3
        Case 3:19-cv-03516-RV-MJF Document 1 Filed 09/20/19 Page 4 of 11



                 e.     the continuing existence of unfair and unnecessary discrimination and
                        prejudice denies people with disabilities the opportunity to compete on an
                        equal basis and to pursue those opportunities for which our country is
                        justifiably famous, and accosts the United States billions of dollars in
                        unnecessary expenses resulting from dependency and non-productivity.

        11.     As stated in 42 U.S.C. §§ 12101(b)(1)(2) and (4) Congress explicitly stated that the

purpose of the ADA was to:

                a.      provide a clear and comprehensive national mandate for elimination of
                        discrimination against individuals with disabilities;

                b.      provide clear, strong, consistent, enforceable standards             addressing
                        discrimination against individuals with disabilities; and

                c.      invoke the sweep of congressional authority, including the power to enforce
                        the fourteenth amendment and to regulate commerce, in order to address the
                        major areas of discrimination faced on a daily basis by people with disabilities.

        12.     Pursuant to 42 U.S.C. § 12182(7), 28 C.F.R. § 36.104 and the 2010 ADA Standards,

Defendant’s Premises is a place of public accommodation covered by the ADA by the fact it provides

services to the general public and must be in compliance therewith. The building and/or Premises,

which is the subject of this action, is a public accommodation covered by the ADA and which must

be in compliance therewith.

        13.     Defendant has discriminated and continues to discriminate against Plaintiff and others

who are similarly situated, by denying access to, and full and equal enjoyment of goods, services,

facilities, privileges, advantages and/or accommodations located at the Premises, as prohibited by 42

U.S.C. § 12182 and 42 U.S.C. § 12101 et. seq., and by failing to remove architectural barriers

pursuant to 42 U.S.C. § 12182(b)(2)(A)(iv).

        14.     Plaintiff has visited these Premises and has been denied full and safe equal access to

the facilities and therefore suffered an injury in fact.

        15.     Plaintiff would like to return and enjoy the goods and/or services at Premises on a

spontaneous, full and equal basis. However, Plaintiff is precluded from doing so by the Defendant's


                                                   4
        Case 3:19-cv-03516-RV-MJF Document 1 Filed 09/20/19 Page 5 of 11



failure and refusal to provide disabled persons with full and equal access to their facilities. Therefore,

Plaintiff continues to suffer from discrimination and injury due to the architectural barriers that are

in violation of the ADA.

        16.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the Department

of Justice, Officer of the Attorney General promulgated Federal Regulations to implement the

requirements of the ADA. See 28 C.F.R. § 36 and its successor the 2010 ADA Standards ADA

Accessibility guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. § 36, under which said

Department may obtain civil penalties of up to $55,000.00 for the first violation and $110,000.00 for

and subsequent violation.

        17.     Defendant is in violation of 42 U.S.C. § 12182 et. seq. and the 2010 American

Disabilities Act Standards et. seq., and is discriminating against Plaintiff as a result of, inter alia, the

following specific violations which are further documented in Exhibit A:

A.      Parking at Guest Services:

                  i)    At the guest services area of the property, self-parking is provided but there
                        are not van accessible spaces. ADA standard 4.1.2(5).

                 ii)    No signage for accessible parking at the guest services area. ADA standard
                        4.6.4.

B.      Exterior Routes:

                  i)    There are mobility impediments between the guest services parking and the
                        entry to guest services. ADA standard 4.1.2(1).

                 ii)    There are mobility impediments between the guest parking area and the guest
                        rooms. ADA standard 4.1.2(1).

                 iii)   There are mobility impediments between the lobby and the guest room
                        exterior door of the guest room. ADA standard 4.1.3(1).

                 iv)    There are mobility impediments between the guest room and exterior
                        amenities such as swimming pools, bars, outdoor dining and restrooms. ADA
                        standard 4.1.2(2).



                                                    5
     Case 3:19-cv-03516-RV-MJF Document 1 Filed 09/20/19 Page 6 of 11



             v)    There is one ramp on the property leading to the pool. There are not handrails.
                   ADA standard 4.8.3.

            vi)    There is no access to the beach because the only route to the beach for ingress
                   and egress is a steep stairway. The beach is the primary reason to visit
                   Defendant’s property, but for people with mobility disabilities, the beach
                   remains inaccessible.

C.   Building Entrances:

              i)   The door hardware is not useable with one hand. ADA standard 4.13.9.

             ii)   The doors to guest services is not automatic. There is not a 30” x 48” clear
                   floor space where one can be outside of the swing of a hinged door. ADA
                   standard 4.13.7.

            iii)   Registration counters and other counters serving guests do not have lowered
                   portions no more than 36” high to fill out forms. ADA standard 7.2.

            iv)    The kitchen counter in the community kitchen is higher than 36”. ADA
                   standard 7.2.

D.   Interior Routes:

              i)   There are mobility impediments between guest services and the guest room.
                   ADA standard 4.1.3(1).

             ii)   Doors are not fitted with accessible handles that are usable with one hand
                   without tight grasping, pinching or twisting. ADA standard 4.13.9.

            iii)   Handrails do not extend horizontally at top and bottom of each stair section to
                   give persons who have difficulty using the stairs, a stable gripping location
                   before ascending or descending. ADA standard 4.9.

            iv)    There are not handrails on both sides of the stair at a uniform height of 34” –
                   38” above front edge of the step. ADA standard 4.9.

E.   Public/Common Use Restrooms:

              i)   The restrooms at the main pool which are also used by restaurant patrons do
                   not have any accessibility features. ADA standards 4.1.3(11); 4.13.6; 4.13.7;
                   4.16.2; 4.17.3; 4.16.4; 4.17.6; 4.16.4; 4.17.6; 4.17.3; 4.22.6; 4.19.

F.   Guestroom & Suite Issues:

              i)   Insufficient clearance (32” required) in width of door openings for people with
                   mobility disabilities. ADA standard 9.4.



                                             6
     Case 3:19-cv-03516-RV-MJF Document 1 Filed 09/20/19 Page 7 of 11



             ii)   Bathroom door has insufficient clearance for people with mobility disabilities.
                   ADA standard 9.4.

            iii)   Insufficient number of accessible suites or rooms or rooms with roll in
                   showers. ADA standard 9.1.2.

            iv)    Accessible guest rooms not available for the variety of properties available for
                   customers. ADA standard 9.1.4.

             v)    Gates for entry into the cottage are not accessible. ADA standard 9.2.2(3);
                   4.13.9.

            vi)    No clear passage at foot of bed. ADA standard 9.2.2(2).

G.   Accessible Bath Issues:

              i)   Insufficient clear passage of at least 32” for restroom entry. ADA standard
                   9.2.2(3); 4.13.

             ii)   No accessible toilet. Toilet not positioned to allow a person to use the grab
                   bars. ADA standard 9.2.2(6)(e); 4.23.4; 4.16.2.

            iii)   No horizontal grab bar that will allow a person in a wheelchair to make
                   transfer from wheelchair to toilet. ADA standard 9.2.2(6); 4.23.4; 4.16.2.

            iv)    Toilet seat not 17-19” above the floor. ADA standard 4.16.3.

             v)    Wash basin is over 34” high and there is insufficient clearance under the front
                   edge of the basin to allow clearance for a wheelchair.

            vi)    Lavatory faucets are not accessible. ADA standard 9.2.2(6)(e); 4.23.6; 4.19.5.

            vii)   Lack of clear floor space in the restroom. ADA standard 9.2.2(6)(e).

           viii)   Inadequate room for person in wheelchair to pull bathroom door open without
                   hitting the wheelchair. ADA standard 9.2.2(3); 4.13.6.

            ix)    No securely attached transfer seat in the bathtub. ADA standard 4.23.8; 4.20.3.

             x)    No hand shower want with a 60” hose. ADA standard 4.23.8; 4.20.6.

            xi)    No horizontal grab bar at the end of the tub to allow for stabilization. ADA
                   standard 4.23.8; 4.20.4.

            xii)   No horizontal grab bar at the head of the tub to aid in transfer from wheelchair
                   to tub. ADA standard 4.23.8; 4.20.4.

           xiii)   No horizontal grab bars along the side of the tub.. ADA standard 4.23.8;
                   4.20.4.


                                             7
        Case 3:19-cv-03516-RV-MJF Document 1 Filed 09/20/19 Page 8 of 11



               xiv)     No gap between the wall and inside face of grab bar. ADA standard 4.23.8;
                        4.20.4.

                xv)     No roll in showers. ADA standard 9.1.2.

H.      Cottage Pool:

                 i)     The pool in the cottage area does not have railing for ingress or egress. ADA
                        standard 242.

I.      Operating Issues:

                 i)     No accessible rooms at all. 28 C.F.R. § 36.302.

        18.    To the best of Plaintiff’s belief and knowledge, Defendant has failed to eliminate the

specific violations set forth in paragraph 18 herein.

        19.    Although Defendant is charged with having knowledge of the violations, Defendant

may not have actual knowledge of said violations until this Complaint makes Defendant aware of

same.

        20.    To date, the readily achievable barriers and other violations of the ADA still exist and

have not been remedied or altered in such a way as to effectuate compliance with the provisions of

the ADA.

        21.    Pursuant to the ADA, 42 U.S.C. § 12101 et. seq., and 28 C.F.R. § 36.304, the

Defendant was required to make the establishment a place of public accommodation, accessible to

persons with disabilities by January 28, 1992. As of the date of the filing of this Complaint,

Defendant has failed to comply with this mandate.

        22.    Plaintiff has retained the undersigned counsel for the filing and prosecution of this

action. Plaintiff is entitled to have her reasonable attorney’s fees, costs and expenses paid by

Defendant, pursuant to 42 U.S.C. § 12205.

        23.    All of the above violations are readily achievable to modify in order to bring Premises

or the Facility/Property into compliance with the ADA.


                                                  8
          Case 3:19-cv-03516-RV-MJF Document 1 Filed 09/20/19 Page 9 of 11



          24.   In instance(s) where the 2010 ADAAG standard does not apply, the 1991 ADAAG

standard applies and all of the violations listed in paragraph 18 herein can be applied to the 1991

ADAAG standards.

          25.   Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant Plaintiff

injunctive relief, including an order to alter the subject facility to make them readily accessible to

and useable by individuals with disabilities to the extent required by the ADA and closing the Subject

Facility until the requisite modifications are completed.

          WHEREFORE, Plaintiff demands judgment against Defendant and requests the following

injunctive and declaratory relief:

          a)    That this Court declares that Premises owned, operated and/or controlled by

Defendant is in violation of the ADA;

          b)    That this Court enter an Order requiring Defendant to alter their facilities to make

them accessible to and usable by individuals with disabilities to the full extent required by Title III

of the ADA;

          c)    That this Court enter and Order directing the Defendant to evaluate and neutralize

their policies, practices and procedures toward persons with disabilities, for such reasonable time so

as to allow the Defendant to undertake and complete corrective procedures to Premises;

          d)    That this Court award reasonable attorney’s fees, all costs (including, but not limited

to the court costs and expert fees) and other expenses of suit to the Plaintiff; and,

          e)    That this Court award such other and further relief as it may deem necessary, just and

proper.




                                                  9
       Case 3:19-cv-03516-RV-MJF Document 1 Filed 09/20/19 Page 10 of 11



                                           COUNT II
                             VIOLATION OF FLORIDA STATUTE § 760.08

        26.     Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 7 above

as if fully stated herein.

        27.     Plaintiff filed a complaint against Defendant with the Florida Commission on Human

Relations in FCHR No. 201915314 for violation of the Florida Civil Rights Act. More than 180 days

have elapsed since the Plaintiff filed the complaint and the complaint has been dismissed. (see

dismissal letter attached as Exhibit B). Plaintiff has exhausted her administrative remedies with the

FCHR and is able to pursue remedies in a court of competent jurisdiction.

        28.     The Defendant has violated Florida Statute § 760.08, which provides all persons shall

be entitled to the full and equal enjoyment of the goods, services, facilities, privileges, and advantages

in any public accommodation, without discrimination or segregation on the grounds of handicap.

        29.     The violations of Florida law were deliberate and knowing.

        WHEREFORE, Plaintiff respectfully requests that this Court grant the following relief

against Defendant, including general and compensatory damages, damages for intangible injuries,

punitive damages, costs, including reasonable attorney’s fees and interest, for the following

injunctive relief and declaratory relief:

        a)      A declaration that the policies and procedures of Defendant Alys Beach violated

Florida Statute § 760.08 in that Defendant failed to consider and accommodate the needs of disabled

persons to the full extent required by Florida law.

        b)      An Order mandating that Defendant train its employees, independent contractors, and

management staff, to comply with all appropriate laws;

        c)      An Order mandating that Defendant revise its policies, practices, and procedures

toward persons with disabilities and undertake and complete corrective measures to provide equal



                                                  10
       Case 3:19-cv-03516-RV-MJF Document 1 Filed 09/20/19 Page 11 of 11



access to individuals with disabilities (including, but not limited to, equal access to the pool and

beach, as with the general public) within a reasonable time;

       d)      An Order mandating that Defendant expeditiously make all reasonable and

appropriate modifications in their policies, practices, and procedures toward persons with disabilities

and take all such steps as are reasonable and necessary to ensure that persons with disabilities are no

longer excluded, denied access, segregated or otherwise discriminated against or treated differently

than the general public;

       e)      Award Plaintiff general damages, compensatory damages, mental anguish, loss of

dignity, and any other intangible injuries;

       f)      Award reasonable costs and attorneys’ fees; and

       g)      Award any and all other relief that may be necessary and appropriate.

Dated this 20th day of September, 2019.

                                              Respectfully submitted,

                                              /s/ J. Courtney Cunningham
                                              J. Courtney Cunningham, Esq.
                                              J. COURTNEY CUNNINGHAM, PLLC
                                              FBN: 628166
                                              8950 SW 74TH Court, Suite 2201
                                              Miami, FL 33156
                                              T: 305-351-2014
                                              cc@cunninghampllc.com




                                                 11
